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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA


 SONY MUSIC ENTERTAINMENT , etal. ,

           Plaintiffs,

 V.
                                                             Case No. 1:18-cv-00950-LO-JFA
 COX COMMUNICATIONS, INC., et al.,
                                                             CONTAINS IDGHLY CONFIDENTIAL
           Defendants.                                       ATTORNEYS' EYES ONLY
                                                             INFORMATION




                                       DECLARATION OF SAM BAHUN

              I, Sam Bahun, hereby declare pursuant to 28 U.S.C. § 1746 that the following statements

      are true and correct to the best of my personal knowledge and belief:

                                                   Introduction

              1.         I am the Director of Strategic Accounts of MarkMonitor, Inc. ("MarkMonitor"), a

      company that, among other things, monitors online networks for infringing content. I have

      personal know ledge of the facts set forth herein and, if necessary, I would and could competently

      testify thereto if called as a witness in this matter. I submit this declaration in support of

      Plaintiffs' Opposition to Cox's Motion For Discover y Sanctions And To Preclude Plaintiffs' Use

      Of MarkMonitor Evidence.

             2.          MarkMonitor is widely recognized as the global leader in enterprise brand

      protection, including various aspects of intellectual property infringement. Over half of the

      Fortune 100 companies, as well as over 1,300+ customers in over 50 countries, including leaders
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   in the technology, fashion, sports, entertainment, pharmaceuticals , media, automotive and

   healthcare industries , rely on MarkMonitor to help them protect their brands and content online.

           3.     Depending on our customers' needs, Mark.Monitor provides antipiracy solutions

   through detection, verification, enforcement and remediation, and analytics. Mark.Monitor's

   proprietary automated technology provides access to a secure web-based portal, with powerful

   online monitoring and comprehensive case management capabilities to gather data on how,

   where and when content is being used over a wide variety of channels, incJuding peer-to-peer

   ("P2P"), cyberlockers, search engines, user generated content, live content, over the top (content

   over the internet without a traditional subscriber service), and Internet Protocol Television

   ("IPTV"). The data is then turned into actionable intelligence to assist MarkMonitor's customers

   in protecting their brands and intellectual property and controlling their anti-piracy programs. In

   this manner, MarkMonitor can identify and track piracy trends, and detect the use and

   distribution of copyrighted material and related infringements, including illegal downloading and

   unauthorized streaming. As a corollary to detection, Mark.Monitor's proprietary technology

   employs multiple levels of verification to confinn the accuracy of all detected infringement,

   including automated digital fingerprint technology for fast and accurate large-scale verification

   and manual review of questionable files. Mark.Monitor then works with its customers,

   depending on their needs , regarding notification, remediation and, at time, enforcement.

          4.      I have 15 years of experience working within the anti-piracy industry, including

   in working with technical staff on anti-piracy services. The anti-piracy work I have been closely

   involved with includes monitoring of infringement on peer-to-peer networks on behalf of the

   movie, music, software, publishing, professional sports, and video game industries. I have




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   worked at MarkMonitor for a total of approximately nine years, and I have also worked at

   MediaSentry, another anti-piracy company.

             5.    In my duties at MarkMonitor, I have been closely involved with work that

   MarkMonitor has done for the Recording Industry Association of America ("RJAA"), on behalf

   of its member companies (the "Record Companies") and the music industry more generally,

   related to detecting the online unauthorized distribution of sound recordings belonging to the

   Record Companies.

             6.   In connection with Plaintiffs' August 30, 2019 Motion for Summary Judgment, I

   prepared a declaration that provides an overview of the process Mark.Monitor employed for the

   RIAA with respect to monitoring, verifying and sending infringement notices to Cox regarding

   Cox users downloading and uploading files on peer-to-peer ("P2P") networks. I have attached a

   true and correct copy of that declaration here as Appendix A to provide additional context for

   and explanation of Mark.Monitor's process, including the documents that are the subject of Cox's

   motion.

             7.   To supplement my prior declaration, I provide additional information below

   concenung Mark.Monitor's process and to help explain why Cox's spoliation allegations are

   unfounded.

                        MarkMonitor Takes Preservation Obligations Seriously

          8.      In public filings in this case, picked up by news media , Cox has accused

   MarkMonitor of destroying critical evidence material to this case . Cox's baseless allegations are

   false and have harmed (and risk additional harm to) MarkMonitor's reputation.

          9.      MarkMonitor takes preservation obligations very seriously. At all times when

  Mark.Monitor collects data concerning infringement, it preserves evidence in a way that allows




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   content owners to protect their rights and pursue enforcement, should they decide to do so. That

   is true in all cases, including in connection with MarkMonitor' s work for RIAA at issue in this

   case.

           10.     MarkMonitor and RIAA entered several agreements concerning the infringement

   notice program at issue in this case. At all pertinent times, MarkMonitor understood the purpose

   of the program was to send copyright infringement notices to ISPs to inform them that users on

   their networks had been detected downloading or distributing unaut horized copies of copyrighted

   works, so that the ISPs could take action. MarkMonitor ( or its predecessor, DtecNet Inc. ,

   collective ly referred to herein as ''MarkMonitor") performed such services dating back to 2008

   and continuing through what I understand is the "Claim Period" in this case: February 1, 2013

   through November 26, 2014.

           11.     The February 15, 2012 Statement of Work (" SOW' ') for the

                   set forth the terms and obligations ofMarkMonitor and RIAA in connection with,

   in relevant part, the                                                 The SOW specifically

   provided that



                           (RIAA _ 00000017.) The RIAA and MarkMonitor did not enter into a

   separate SOW concerning any litigation program.

           12.     I was deposed by Cox ' s counsel, Diana Hughes Leiden, on June 13, 2019. As I

   explained in my deposition testimony, when MarkMonitor conducted the RIAA notice program

   at issue in this case , MarkMonitor understood the theoretical possibility that certain data could be

   used in future litigation. But the work done at the time was not, to my understanding , done for

   the purpose oflitigation and litigation was not expected. The purpose of the program was to




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   provide notice to ISPs of specific instances of infringement occurring through their Internet

   service, so that the ISPs could do something about it. The SOW language cited above for the

   RIAA notice program is consistent with this notion as it expressly contemplated



           13.    At no point during or before the Claim Period did MarkMonitor have an

   understanding that RlAA, the Plaintiffs in this case, or anyone else actually anticipated litigation

   against Cox or any other ISP using the Mark.Monitor data generated in connection with the

   RIAA notice program.

           14.    Based on my experience working with RIAA over many years, I would know if

   MarkMonitor's P2P infringement detection, verification and/or notice data was used, or was to

   be used, in litigation. To my knowledge, the Plaintiffs' case against Cox filed in July 2018 is the

   first lawsuit since MarkMonitor began sending infringement notices to ISPs on behalf ofRIAA ,

   in which the data MarkMonjtorcollectedfor RIAA has been used for litigation.

                                            File Verification

          15.     In 2008 , on behalf ofRIAA, MarkMonitor began monitoring for potentially

   infringing files being copied and distributed on P2P networks, and sending infringement notices

   to certain ISPs, including Cox.

          16.     In connection with that process, from 2008 through the Claim Period,

   MarkMonitor




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           17.      Whether a suspected infringing file matches a legitimate copy of a copyrighted

   sound recording is a "yes/no" question. It is either a match or not a match .




                That is all the information needed to confirm that the suspected infringing file matches

   a copyrighted work.

          18.




                                 I have described the Mark.Monitor Spreadsheet further in paragraph

   23 of my prior declaration attached here as Appendix A.

          19.       For every work listed in the MarkMonitor Spreadsheet,




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         20.        In addition to the spreadsheet identifying each of the works,




                                    Additional Superfluous Information

         21.




               a.


               b.


               c.




               d.


         22.




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         23.




         24.




         25.




         26.




         27.




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           28.    The core of MarkMonitor' s business model (including as it relates to this case)

   requires it to gather valid evidence sufficient to protect our clients' copyrighted content. As

   stated herein, the superfluous data Cox contends was spoliated, was something we were not

   required to gather, nor was it relevant to our statement of work at the time, which was not

   performed for active litigation or in anticipation of litigation. Moreover, the Audible Magic data

   simply corroborates the



   is immaterial to our ability to establish there was infringement of the identified works by Cox

   subscribers.



   Executed in7Jf'f'l..i·ryJ>JI this /3+/i day of September, 2019


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                              APPENDIX A
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                                     UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF VIRGINIA


 SONY MUSIC ENTERTAINMENT, et al.,

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 V.
                                                              Case No. l:18-c v -00950 -LO-JFA
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      testify thereto if called as a witness in this matter. I submit this declaration in support of

      Plaintiffs' Motion for Summary Judgment.

             2.                     is widelyrecognizedas the globalleaderin enterprisebrand
                          MarkMonitor
      protection, including various aspects of intellectual property infringement. Over half of the

      Fortune 100, 1,300+customersin over 50 countriesand industryleadersin technology,fashion,

      sports, entertainment, pharrna, media, auto and healthcare trust MarkMonitor and rely on its
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    technology, expertise, and industry relationships every day to help them protect their brands and

    content online.

            3.        I have 15 years of experience working within the anti-piracy industry, including

    in working with technical staff on anti-piracy services. The anti-piracy work I have been closely

    involved with includes monitoring of infringement on peer to peer networks on behalf of the

    movie, music , software, publishing, professional sports, and video game industries. I have

    worked at MarkMonitor for a total of approximately nine years, and I have also worked at

    MediaSentry, another anti-piracy company.

           4.         In my duties at MarkMonitor, I have been closely involved with work that

    MarkMonitor has done for the Recording Industry Association of America ("RlAA "), on behalf

    of its member companies (the "Record Companies ") and the music industry more generally,

    related to detecting the online distribution of sound recordings belonging to the Record

    Companies.

           5.         Below I provide an overview of the process MarkMonitor employed for the RIAA

    with respect to monitoring , verifying and sending infringement notices to Cox regardmg Cox

    users downloading and uploading files on peer-to-peer ("P2P") networks . For purposes of this

    declaration, I use the term " Cox User" to refer to someone using the Cox Internet service.

           6.      This declaration is geared to a general audience. Though I could discuss the

   technology and MarkMonitor ' s process in more technical terms, I assume that this level of detail

   is more useful to the Court.

                                     File Sharing Networks Monitored

           7.      RIAA retained Mark.Monitor to




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             8.    By way of background, each P2P network is comprised of individuals with

    compatible software installed on their computers, which are connected to each other via the

    Internet. Such Internet -connected users on a P2P network are known as "peers." Peers within a

    network use P2P software to communicate directly with each other over their lnternet

    connections, including to download or disseminate files containing sound recordings. Peers can

    only reach and communicate with one another on a P2P network when they are connected to the

    Internet .

            9.     Some P2P networks, including BitTorrent, include a multi -source distribution

    model whereby the file data is divided into small parts , spread among the users on the network.

    Peers request pieces of data from each other continuously until they have completed the entire

    download. Whenever a peer has received a new piece of data, that peer then begins distributing

    it to other peers on the network who wish to download it. This design effectively eliminates one

   of the biggest bottlenecks of other file-sharing systems, where the download performance of all

   users is degraded when the demand for a specific file is high.

            l 0.   In the context of computer operating systems such as Windows and macOS, users

   identify files by their filenames, for instance as "report.docx" or "song.mp3 ." P2P networks

   keep suchfilenamesassociatedwith files, but they go a step further. Theyuse standardized
   procedures known as cryptographic hash functions to generate a single alphanumeric string-

   called a hash or hash value--for a file based upon the data contained within the file. Depending

   on the type of hash algorithm used~hashes are usually written as 32 or 40 alphanumeric




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    characters. Two files that have the same hash are identical to one other; they are copies of the

    same file and have the same contents. Two files that differ in even the smallest way will yield

    different hash values. P2P networks use such hashes in a variety of ways, including to recognize

    that multiple peers have a particular file the user is attempting to download. Relying on a

    common hash as an indicator the files are identical, the P2P network can provide the file to the

    downloader by pulling pieces from multiple peers.

             11.      lf a P2P network user-including              Mark:Monitor acting as a peer-finds           two files

    with the same name, it is possible their contents differ. However , if two files with the same hash

    are found, the contents of the two files are guaranteed to be identical. 1 The hash enables users to

    recognize a file is an exact duplicate of one whose music content has already been identified.

                                            Detection and Data Collection

             12.      The search process and functionality of the Mark Monitor Software




             13.      MarkMonitor's Software




    -, -rr standard crvptographic hash functions, this guarantee is actually short of 100% at a technical matter , but by a
   negligible difference so close to zero that the guarantee widely is taken to be exactly 100% in practice.


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           14.       MarkMonitor's Software confirmed




   -                                Verification of Infringing Files

          15.    For the work MarkMonitor was engaged in for RIAA generally (i.e., not just for

   notices to Cox)




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           16.    Thereafter , each subsequent instance of the file was verified




                                            Notice Sending

           17.



                                               MarkMonitor sent the notices to Cox' s registered

    email address for receivingcopyrightnotices.

           18.    From the period of January 2, 2012 to March 31, 2015, MarkMonitor sent

   284 ,444 infringement notices to Cox on behalf ofRIAA. Each notice issued under penalty of

   perjury with the information required under the Digital Millennium Copyright Act and under the

   name of the RlAA.

           19.    For this project,




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                       Each P2P service communicates this information differently , but under the

       BitTorrent protocol , peers exchange "BitField " data from which the percentage of the total

       available sound recording (s) can be calculated. BitTorrent only populates this BitField data after

       it has verified the content the user possesses using the hash of each downloaded piece. -




                                            Production of Evidence

              20.     MarkMonitor provided several data sets and document s generated from the

       above-described processes , which I understand have been produced in discovery in this case and

       are attached to the Gould declaration .

              21.     Infringement Notice: PX 538 (bates numbered Plaintiffs_00100723) is a

       representative infringement notice sent to Cox. Each of the infringement notices sent to Cox as

       described herein included the fields of information listed in 17 U.S.C. 512(c). The notices

    provide an email address to contact in the event the subject of the notice disputes the

    infringement reported to Cox. MarkMonitor has checked its records and has not identified any

    emails received disputing the infringement reports to Cox.

              22.     Notice Data: PX 13 (bates numbered Plaintiffs _ 00286430) is a text file with

   -           records of notices that , as per the process described above , Mark.Monitor sent to Cox

    between January 2, 2012 and March 31, 2015. It includes data variables such as




    Plaintiffs_ 00286280) is an Excel file of the same data.




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            23.                             PX 11 (bates numbered Plaintiffs _00286431) is an Excel

    file with




            24.     Audio Files: PX 39 is a hard drive of audio files




    MarkMonitor provided those files to Plaintiffs and I understand Plaintiffs produced them to Cox

    on a hard drive and also attached them to the Gould declaration. Anyone with the hard drive (PX

    39) can listen to the audio recordings it contains.

           25 .    Download Data: PX 16 (bates numbered Plaintiffs _00286432) is an Excel file



                  The records include , among other things ,




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           26.     Case Packages: PX 33 (bates numbered MM000306) is a collection of -




                                                 Due to the volume of the case package s, 1

    understand that two examples are attached to the Gould declaration rather than the entire set of




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